CASE 0:20-cv-01338-JRT-JFD Doc. 104-7 Filed 11/24/21 Page 1 of 18
CASE 0:20-cv-01338-JRT-JFD Doc. 104-7 Filed 11/24/21 Page 2 of 18
CASE 0:20-cv-01338-JRT-JFD Doc. 104-7 Filed 11/24/21 Page 3 of 18
CASE 0:20-cv-01338-JRT-JFD Doc. 104-7 Filed 11/24/21 Page 4 of 18
CASE 0:20-cv-01338-JRT-JFD Doc. 104-7 Filed 11/24/21 Page 5 of 18
CASE 0:20-cv-01338-JRT-JFD Doc. 104-7 Filed 11/24/21 Page 6 of 18
CASE 0:20-cv-01338-JRT-JFD Doc. 104-7 Filed 11/24/21 Page 7 of 18
CASE 0:20-cv-01338-JRT-JFD Doc. 104-7 Filed 11/24/21 Page 8 of 18
CASE 0:20-cv-01338-JRT-JFD Doc. 104-7 Filed 11/24/21 Page 9 of 18
CASE 0:20-cv-01338-JRT-JFD Doc. 104-7 Filed 11/24/21 Page 10 of 18
CASE 0:20-cv-01338-JRT-JFD Doc. 104-7 Filed 11/24/21 Page 11 of 18
CASE 0:20-cv-01338-JRT-JFD Doc. 104-7 Filed 11/24/21 Page 12 of 18
CASE 0:20-cv-01338-JRT-JFD Doc. 104-7 Filed 11/24/21 Page 13 of 18
CASE 0:20-cv-01338-JRT-JFD Doc. 104-7 Filed 11/24/21 Page 14 of 18
CASE 0:20-cv-01338-JRT-JFD Doc. 104-7 Filed 11/24/21 Page 15 of 18
CASE 0:20-cv-01338-JRT-JFD Doc. 104-7 Filed 11/24/21 Page 16 of 18
CASE 0:20-cv-01338-JRT-JFD Doc. 104-7 Filed 11/24/21 Page 17 of 18
CASE 0:20-cv-01338-JRT-JFD Doc. 104-7 Filed 11/24/21 Page 18 of 18
